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EXHIBIT A — March 26, 2025 Email from Counsel for X Corp.
Cc: Chloe Krake, Cristina Falcon
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RE: Urgent Informal Discovery Request – Rodriguez v. Meta Platforms, Inc., et al.

From: Hiran Rodriguez hiranrodriguez@outlook.com
   To: Hiran Rodriguez hiranrodriguez@outlook.com
 Date: Thu, Mar 20, 2025, 1:51 PM

Dear Counsel,

I write regarding Rodriguez v. Meta Platforms, Inc., et al., Civil Action No. 25-197, currently
pending in the United States District Court for the Eastern District of Louisiana. Given the
ongoing harm and necessity of preserving key evidence, I formally request the following
discovery materials pursuant to Federal Rule of Civil Procedure 26(d)(1), which allows for early
discovery upon a showing of good cause.

1. Evidence of Ongoing Harassment and Intimidation

Defendants: Kansas City Southern Railway Company, Jefferson Parish Sheriff’s Office,
Third District Volunteer Fire Department, and LCMC Healthcare Partners, LLC
    • All internal communications, incident reports, and complaints relating to Plaintiff
    from January 2023 to present.
    • Employee logs, schedules, and directives for train conductors, emergency
    responders, and law enforcement operating near Plaintiff’s residence.
    • Policies governing train horn usage, emergency response dispatches, and
    surveillance operations in residential areas.

2. Digital Account and Data Suppression

Defendants: Meta Platforms, Inc., X Corp., and AT&T Enterprises, LLC

          Records related to content restrictions, suspensions, or removals of Plaintiff’s
          digital accounts.
          Internal discussions, third-party requests, and automated enforcement logs
          concerning Plaintiff’s online activities.
          Preservation of all electronic data, including deleted or altered records related
          to Plaintiff.


3. Defendants’ Service Evasion and Procedural Misconduct

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     All internal communications discussing service of process or procedural delays.
     Records indicating coordination between Defendants to delay litigation or obstruct
     discovery.


Request for Response

Pursuant to professional courtesy and the Federal Rules of Civil Procedure, I request a
response within seven (7) days confirming whether Defendants will voluntarily comply. Failure
to respond will necessitate a motion to compel discovery and request for court intervention.

Please confirm receipt of this request.

Best regards,
Hiran Rodriguez
Pro Se Plaintiff
820 Grove Ave, Metairie, LA 70003
(504) 203-8459
hiranrodriguez@outlook.com




Hiran Rodriguez
820 Grove Ave
Metairie, LA, 70003-7024
(504) 203-8459
hiranrodriguez@outlook.com




From: Valerie T. Matherne vmatherne@courington-law.com
   To: hiranrodriguez@outlook.com
  Cc: Chloe Krake ckrake@courington-law.com, Cristina Falcon cfalcon@courington-law.com
Date: Wed, Mar 26, 2025, 5:45 PM

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Dear Mr. Rodriguez,


Thanks for your email. Your “[i]nformal” requests for “discovery materials” are improper for at least the following
reasons, and therefore X Corp. will not respond to them.


First, your “requests” violate Federal Rule of Civil Procedure 5(b)(2)(E), which provides that, in relevant part,
“[a] paper is served under this rule by . . . sending it by other electronic means that the person consented to in
writing . . . .” Id. (emphasis added). We have not consented to receiving service of discovery by email, and as
such your attempt at serving us via email is invalid.


Second, your “requests” violate Rule 26(d)(1), which provides that “[a] party may not seek discovery from any
source before the parties have conferred as required by Rule 26(f), except in a proceeding exempted from
initial disclosure under Rule 26(a)(1)(B), or when authorized by these rules, by stipulation, or by court order.”
You invoke Rule 26(d)(2), but Rule 26(d)(2)(B) provides that “[e]arly Rule 34 [r]equests” are deemed “to have
been served at the first Rule 26(f) conference.” The parties have not conducted that conference. So even if
your requests were not improper, they cannot be deemed to have been served until the date of that
conference. Furthermore, your demand for a response within 7 days of your email violates Rule 34(b)(2), which
requires a response to properly served discovery “within 30 days after being served or – if the request was
delivered under Rule 26(d)(2) – within 30 days after the parties’ first Rule 26(f) conference.”


Third, your “requests” violate the Court’s “Order of Reference to United States Magistrate Judge.” Dkt. 102
(“Stay Order”). That order, among other things, ordered that “all deadlines in this matter are STAYED . . . .” Id.
at 1. By operation of that Order, even if you had properly served X Corp. with discovery and if that discovery
were valid (as explained above, you did not and it is not), X Corp.’s deadline to respond to the discovery is
stayed.


Thus, for at least these reasons, X Corp. is not obligated to respond to your requests. Any motion to compel
responses to them would be a waste of judicial resources and would violate the Stay Order.


X Corp. reserves all rights.


With warm regards,


Valerie




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Valerie Theng Matherne l Member
Courington, Kiefer, Sommers, Marullo, Matherne & Bell LLC
616 Girod Street l New Orleans, LA 70130
Phone (504) 524-5510 l Fax (504) 524-7887
Website l Email l [../../../../Documents/Valerie%20Theng%20Matherne.vcf]vCard


2 Emails




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Automatic reply: Informal Discovery Follow Up Rodriguez v. Meta Platforms, Inc.,
et al. Civil Action No. 25-197

From: Hiran Rodriguez hiranrodriguez@outlook.com
   To: hiranrodriguez@outlook.com
  Bcc: barcuri@fralawfirm.com , lcarlisle@bakerdonelson.com , scefolia@bakerdonelson.com ,
         colin.cisco@jeffparish.net , hailey.cummiskey@arlaw.com , philip.giorlando@bswllp.com ,
         katherine@snw.law , ekesler@bakerdonelson.com , ckrake@courington-law.com ,
         eve.masinter@bswllp.com , vmatherne@courington-law.com ,
         lmince@fishmanhaygood.com , suzy@snw.law , jnieset@phjlaw.com ,
         lrodrigue@fralawfirm.com , lindsaysamuel@dwt.com , lrichard@irwinllc.com ,
         scott@snw.law , qurquhart@irwinllc.com , roland.vandenweghe@arlaw.com
 Date: Thu, Mar 20, 2025, 10:57 PM
       Informal Discovery Follow Up .pdf 2 KB




Hiran Rodriguez
820 Grove Ave
Metairie, LA, 70003-7024
(504) 203-8459
hiranrodriguez@outlook.com




From: Jim Nieset jnieset@phjlaw.com
   To: Hiran Rodriguez hiranrodriguez@outlook.com
Date: Thu, Mar 20, 2025, 10:57 PM

I will be out of the office today and away from email.


If you need immediate assistance today, please contact Emily DesForges at edesforges@phjlaw.com


Otherwise, we will reply to your email when I return to the office on Monday.


Thank you.


Jim Nieset
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2 Emails




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                                   Rodriguez v. Meta Platforms, Inc., et al.



                                                Civil Action No. 25-197




Dear Counsel,



I write to follow up on my urgent informal discovery request submitted to you on March 20, 2025, in the

matter of Rodriguez v. Meta Platforms, Inc., et al., Civil Action No. 25-197 (E.D. La.). To date, I have not

received any acknowledgment or response regarding my request, which sought targeted discovery from parties

currently in possession of critical and time-sensitive evidence relevant to this litigation.



As outlined in my earlier correspondence, there is good cause for early discovery due to ongoing harm,

evidence suppression, and procedural delays that continue to prejudice my ability to obtain relief. I again

request that your clients voluntarily provide the materials specified, including internal communications, user

data logs, suppression and moderation records, and relevant organizational policies.



If I do not receive a substantive response by March 27, 2025, I will be compelled to file a motion to compel

discovery and seek emergency relief from the Court. I also respectfully request that your clients preserve all

potentially relevant evidence as litigation is actively pending.



Thank you for your attention to this matter. Please confirm receipt of this letter.



Respectfully,



Hiran Rodriguez

Pro Se Plaintiff
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820 Grove Ave, Metairie, LA 70003

(504) 203-8459

hiranrodriguez@outlook.com
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         EXHIBIT B — Declaration of Hiran Rodriguez
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EXHIBIT B




Declaration of Hiran Rodriguez




I, Hiran Rodriguez, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746:


1. I am the Plaintiff in the above-captioned case and appear pro se.


2. On March 20, 2025, I sent a formal preservation and informal discovery request to all

counsel of record concerning targeted evidence of harassment, surveillance, and suppression

directly tied to the misconduct alleged in this litigation.


3. That request was made in good faith and intended to prompt voluntary compliance with

essential evidence gathering, given the urgent, ongoing nature of the harm I continue to

experience.


4. On March 26, 2025, within one hour of the Court’s denial of X Corp.’s pro hac vice motion,

I received a retaliatory and unprofessional email response from X Corp.’s counsel, Valerie

Theng Matherne, which is attached as Exhibit A.


5. The response mischaracterized my communication, distorted procedural rules, and relied

on a misapplication of the stay order to avoid accountability, all while using hostile language

that reflects the same harassment and obstruction central to this case.
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6. I believe this conduct supports disqualification due to:


• Conflict of interest,


• Direct alignment with alleged misconduct, and


• Retaliatory litigation tactics that undermine judicial fairness.




I declare under penalty of perjury that the foregoing is true and correct.




Executed on March 27, 2025


/s/ Hiran Rodriguez


Hiran Rodriguez
